     Case 3:16-cv-03044-L-KSC Document 41 Filed 01/25/18 PageID.1230 Page 1 of 5



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14
                         UNITED STATES DISTRICT COURT
15                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
16

17   IN RE ILLUMINA, INC.                              Master File No. 3:16-CV-03044-L-MDD
     SECURITIES LITIGATION
18
                                                       JOINT MOTION TO EXTEND
19                                                     DEFENDANTS’ TIME TO ANSWER
                                                       THE AMENDED COMPLAINT
20
                                                       Hon. M. James Lorenz
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                   JOINT MOTION TO EXTEND DEFENDANTS’ TIME TO ANSWER THE AMENDED COMPLAINT
                                                                                             16-CV-3044-L-MDD
     Case 3:16-cv-03044-L-KSC Document 41 Filed 01/25/18 PageID.1231 Page 2 of 5



 1         Pursuant to Rule 7.2 of the Local Rules for the United States District Court for the
 2   Southern District of California, Lead Plaintiff Natissisa Enterprises Ltd. (“Lead Plaintiff”)
 3   and Defendants Illumina, Inc., Francis A. Desouza, and Marc A. Stapley (“Defendants”),
 4   by and through their respective attorneys, jointly move as follows:
 5         1.     On April 13, 2017, the Court entered an Order Granting Joint Motion
 6   Regarding Pleading and Briefing Schedule, Doc. 24, setting a schedule for Plaintiffs to file
 7   a consolidated amended complaint and for the briefing of any motions to dismiss.
 8         2.     Pursuant to this schedule, Lead Plaintiff filed an Amended Complaint on May
 9   30, 2017, Doc. 28, which Defendants moved to dismiss on July 31, 2017, Doc. 32.
10         3.     On January 22, 2018, the Court granted in part and denied in part Defendants’
11   motion to dismiss, Doc. 39.
12         4.     Under Federal Rule of Civil Procedure 12(a)(4)(A), Defendants’ Answer is
13   due on February 5, 2018.
14         5.     The Amended Complaint totals 48 pages and includes 113 paragraphs of
15   allegations raising complex legal and factual issues. Given the length and complexity of
16   the Amended Complaint and the substantial work involved in drafting an Answer, the
17   parties have stipulated and agreed that a 30-day extension of time for Defendants to file
18   their Answer is appropriate.
19         6.     Lead Plaintiff and Defendants, through their respective counsel, accordingly
20   respectfully request that the Court grant this Joint Motion for an order extending
21   Defendants’ time to file an Answer to the Amended Complaint through and including
22   March 7, 2018, which is 30 days after the current deadline.
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                    JOINT MOTION TO EXTEND DEFENDANTS’ TIME TO ANSWER THE AMENDED COMPLAINT
                                                                                              16-CV-3044-L-MDD
     Case 3:16-cv-03044-L-KSC Document 41 Filed 01/25/18 PageID.1232 Page 3 of 5



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 2
                                             Respectfully submitted,
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 4   Dated: January 25, 2018                 COVINGTON & BURLING LLP
 5
                                             By:    /s/ Mark P. Gimbel
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                                               Attorneys for Lead Plaintiff
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                  JOINT MOTION TO EXTEND DEFENDANTS’ TIME TO ANSWER THE AMENDED COMPLAINT
                                                                                            16-CV-3044-L-MDD
     Case 3:16-cv-03044-L-KSC Document 41 Filed 01/25/18 PageID.1233 Page 4 of 5



 1                                SIGNATURE ATTESTATION
 2         Under Section 2.f.4 of the Court’s CM/ECF Administrative Policies, I hereby certify
 3   that authorization for the filing of this document has been obtained from each of the other
 4   signatories shown above and that all signatories have authorized placement of their
 5   electronic signature on this document.
 6

 7                                              By: /s/ Mark P. Gimbel
                                                   Mark P. Gimbel
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                   JOINT MOTION TO EXTEND DEFENDANTS’ TIME TO ANSWER THE AMENDED COMPLAINT
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     Case 3:16-cv-03044-L-KSC Document 41 Filed 01/25/18 PageID.1234 Page 5 of 5



 1                                CERTIFICATE OF SERVICE
 2                The undersigned hereby certifies that a true copy of the following document
 3   has been served on January 25, 2017 to all counsel of record who are deemed to have
 4   consented to electronic service via the Court's CM/ECF system per Civil Local Rule 5.4:
 5
         JOINT MOTION TO EXTEND DEFENDANTS’ TIME TO ANSWER THE
 6                        AMENDED COMPLAINT
 7
           Any other counsel of record will be served by electronic mail, facsimile, and/or
 8
     overnight delivery.
 9
           I declare under penalty of perjury under the laws of United States that the foregoing
10
     is true and correct and that this certificate of service was executed on January 25, 2018 at
11
     New York, New York.
12

13
                                                            /s/ Mark P. Gimbel
14                                                          Mark P. Gimbel
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                                         CERTIFICATE OF SERVICE
                                                                                   16-CV-3044-L-MDD
